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                                    No. 25-1397 (L); 25-1398

                        UNITED STATES COURT OF APPEALS
                            FOR THE FOURTH CIRCUIT


                                    JEFFERSON GRIFFIN,
                                                     Plaintiff-Appellee,

                                               v.

                NORTH CAROLINA STATE BOARD OF ELECTIONS,
                                         Defendant-Appellant,

                                              and

          ALLISON RIGGS, NORTH CAROLINA ALLIANCE FOR RETIRED
           AMERICANS, VOTEVETS ACTION FUND, TANYA WEBSTER-
             DURHAM, SARAH SMITH, AND JUANITA ANDERSON,
                                         Intervenor-Appellants.

                    On Appeal from the United States District Court
                       for the Eastern District of North Carolina

          VOTEVETS ACTION FUND, NORTH CAROLINA ALLIANCE
          FOR RETIRED AMERICANS, TANYA WEBSTER-DURHAM,
          SARAH SMITH, AND JUANITA ANDERSON’S EMERGENCY
            REPLY IN SUPPORT OF MOTION FOR INJUNCTION
                          PENDING APPEAL

        NARENDRA K. GHOSH                        LALITHA D. MADDURI
        PATTERSON HARKAVY LLP                    CHRISTOPHER D. DODGE
        100 EUROPA DRIVE, STE 420                TINA MENG MORRISON
        CHAPEL HILL, NC 27217                    JAMES J. PINCHAK
        (919) 942-5200                           JULIE ZUCKERBROD
                                                 ELIAS LAW GROUP LLP
                                                 250 MASSACHUSETTS AVE NW., STE 400
                                                 WASHINGTON, DC 20001
                                                 (202) 968-4490
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                                   INTRODUCTION

              Griffin grasps for a reason not to stay a burdensome, confusing, and

        discriminatory cure process until outstanding federal issues that are

        likely to eliminate the need for cure at all—purposefully left unaddressed

        by state courts—can be resolved. But he finds none. On the merits,

        Griffin says substantive due process principles have no pedigree here.

        Wrong—they are “settled” law. Hendon v. N.C. State Bd. of Elections, 710

        F.2d 177, 182 (4th Cir. 1983). He claims movants seek to supplant state

        court rulings on state law issues. Wrong again—they seek orderly review

        of reserved federal issues. See ECF.35. 1 He says Bush v. Gore has no

        precedential value. Wrong thrice—this Court has treated Bush as

        “binding.” Wise v. Circosta, 978 F.3d 93, 100 n.7 (4th Cir. 2020) (en banc).

        Finally, as the Board makes clear, the state has no interest in imposing

        a new ID requirement on voters after they vote, particularly when Griffin

        cannot identify even one ineligible voter after months of searching.

              His equitable arguments fail too. This Court has jurisdiction—the

        orders below “refuse[d]” clear requests for “injunctions.” 28 U.S.C.



        1 Unless otherwise indicated, citations to “ECF” are filings in the district

        court, No. 24-cv-00731, and “Doc” are filings in this appeal, No. 25-1397.

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        §1292(a)(1). The irreparable harm is stark. Griffin has already returned

        to state court crying for more relief, adding more confusion as to who may

        need to cure. The equities and common sense are clearcut: the cloud of

        legal doubt over the cure process should be addressed before foisting it

        on voters. An injunction should be granted.

                                      ARGUMENT

        I.    This Court has jurisdiction.

              The April 12 order denied a request “for an injunction maintaining

        the status quo by prohibiting the parties from taking any action to

        enforce or effectuate” a cure process. ECF.37 at 1. The status quo is now

        not being maintained; the Board will implement cure procedures “until

        directed otherwise by court order.” Doc.19 at 11. In the district court’s

        own words, its order “decline[d] to interfere … with the initiation of [this]

        remedial process.” ECF.60 at 2.

              Such an order is appealable because it “refus[es]” an “injunction” of

        the cure process. 28 U.S.C. §1292(a)(1); Harding v. Reverse Mortg. Sols.,

        2022 WL 10713212, at *1 (4th Cir. May 2, 2022) (denying motion to

        dismiss where “order on appeal denied [appellant’s] request for injunctive

        relief” and concluding the court “ha[d] jurisdiction under [§1292(a)(1)]”).



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        Further still, the state courts’ remedial orders are effectively now the

        district court’s own. See 28 U.S.C. §1450. The district court’s orders

        “refus[ed] to dissolve or modify [that] injunction[]” to permit orderly

        review of federal issues, id. §1292(a)(1), supplying an additional

        jurisdictional ground.

              Griffin pretends the movants sought only temporary restraining

        orders. Doc.18 at 9-12. That is false. See ECF.47, 48 (requesting

        preliminary injunction); ECF.36, No. 5:24-cv-699 (E.D.N.C.) (same);

        ECF.12, No. 5:25-cv-193 (E.D.N.C.) (same). The appealed orders denied

        these requests. Contrary to Griffin’s insinuation, Doc.18 at 9, the

        subsequent briefing order was set “to facilitate prompt resolution of this

        matter,” April 12 Text Order, and not to brief preliminary injunctions.

        II.   Griffin ignores the irreparable harm identified by movants.

              Griffin ignores the irreparable harm described by Voter Appellants,

        retreating to the specious argument that “the opportunity to cure

        deficient ballots isn’t a burden at all.” Doc.18 at 13. That passing claim

        ignores that any cure process that commences before litigation is settled

        will inevitably stifle voter participation, confuse voters, and “skew” the

        cure’s results. Doc.8-1 at 21. Many voters will not jump through



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        burdensome hoops while litigation is ongoing and before it is clear that

        curing is even necessary. Id. And proceeding with a tainted process

        constitutes irreparable harm even where the harmed party is “deprived

        of nothing until the completion of the proceedings.” United Church of the

        Med. Ctr. v. Med. Ctr. Comm’n, 689 F.2d 693, 701 (7th Cir. 1982). Any

        new vote totals stemming from this half-baked process will not be the

        product of a full and fair effort to enfranchise as many voters as possible.

        Should the curing window close before federal litigation ends, the ship

        for potentially hundreds of voters will have already sailed. League of

        Women Voters of N. Carolina v. North Carolina, 769 F.3d 224, 247 (4th

        Cir. 2014) (“discriminatory voting procedures” and “restrictions on

        fundamental voting rights” constitute “irreparable injury”) (“LWV”).

              Griffin also says nothing about the Supreme Court’s decision in

        Bush to stay a potentially unconstitutional recount procedure before

        resolving its merits. That ruling is irreconcilable with Griffin’s view that

        a “process” cannot constitute irreparable harm. Doc.18 at 13 (emphasis

        in original). “Count first, and rule upon legality afterwards, is not a recipe

        for producing election results that have the public acceptance democratic




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        stability requires.” Bush v. Gore, 531 U.S. 1046, 1047 (2000) (Scalia, J.,

        concurring).

              Griffin’s next tack is a failed “gotcha” argument noting certain

        movants have previously asked courts to order ballot-curing processes.

        Doc.18 at 13-14 (citing cases). Unsurprisingly, none of those cases

        involved retroactive implementation of new rules that disenfranchise

        voters unless they “cure” their previously valid ballots; each concerned

        an effort to enfranchise voters whose ballots were discounted due to

        mistaken non-compliance with an existing rule. To Voter Appellants’

        knowledge, no court has ever ordered a “cure” that (1) violated equal

        protection or (2) was carried out in furtherance of disenfranchising voters

        whose only sin was following the rules on election day.

              The injury to VoteVets is not self-imposed as Griffin suggests,

        Doc.18 at 9—VoteVets has explained why it will become necessary to help

        overseas servicemembers navigate the ballot-curing process even with

        the Board’s notices, Doc.8-1 at 23-24. Should the cure go forward before

        found necessary, the Board’s notices will “inform the voter[s] that this

        litigation is ongoing and the voter’s obligations are subject to change.”

        ECF.61 at 5. This in turn will “likely create huge confusion among



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        VoteVets constituents” by harming “[m]ilitary voters” who “already vote

        at low rates compared to their civilian counterparts.” ECF.58 ¶¶8, 10.

        Griffin glibly labels these individuals “noncompliant voters.” Doc.18 at

        14. But what makes spending these resources necessary is that these

        voters were compliant on election day. Absent relief, VoteVets will expend

        unrecoverable resources to help protect their ballots. Griffin’s suggestion,

        id., that losing these resources is not irreparable harm ignores that such

        loss is irreparable where (as here) recovery is “unavailable.” Mountain

        Valley Pipeline, LLC v. 6.56 Acres of Land915 F.3d 197, 218 (4th Cir.

        2019).

        III. Voter Appellants are likely to prevail on the merits.

              A.   Griffin ignores “settled” substantive due process law.

              Longstanding and well-established substantive due process

        principles resolve this case. See Doc. 8-1 at 9-14 (citing Griffin v. Burns,

        570 F.2d 1065, 1067, 1074 (1st Cir. 1978) and other cases). Griffin

        nonetheless insists movants rely upon an unrecognized branch of

        substantive due process. Doc.18 at 15-17. That is false. The principles in

        Griffin are “settled” law in this Circuit, Hendon, 710 F.2d at 182, and

        others, Doc.8-1 at 11 (collecting cases). Griffin has no answer to Hendon,




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        so he ignores it. But that does not change that such settled law “controls”

        absent clear Supreme Court abrogation Griffin does not even try to point

        to. United States v. Hill, 776 F.3d 243, 247-49 (4th Cir. 2015). 2

              Nor, as Griffin insists, is this a case where federal courts are

        intruding upon state prerogatives to “to grade the papers of state courts.”

        Doc.18 at 15. That claim ignores critical aspects of this case’s procedural

        history. Under this Court’s Pullman order, the North Carolina courts

        purposefully did not reach these federal questions. Doc.132 (No. 25-1018);

        see also Meredith v. Talbot Cnty., Md., 828 F.2d 228, 232 (4th Cir.

        1987) (“The usual rule is to retain jurisdiction in Pullman situations.”).

        There is no second guessing here—movants are now presenting only their

        federal arguments in the first instance, as contemplated by this Court.

        To suggest movants are now barred from raising these arguments erases

        this Court’s Pullman order and undermines the Board’s lawful removal




        2 Griffin’s suggestion that applying Griffin would require a new election

        is another distraction. Doc.18 at 17. Griffin has never sought such a
        remedy. Movants raise federal arguments to foreclose Griffin’s challenges
        as presented. Further, the remedy in Griffin was tailored to the facts of
        that case concerning a primary in a single city council ward, 570 F.2d at
        1066—not a statewide election in which over 5.5 million ballots were cast.

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        under 28 U.S.C §1443. 3

              Unable to avoid the application of substantive due process, Griffin

        suggests this case reflects only a “garden variety” election issue unworthy

        of federal attention. Doc.18 at 17-18. That claim should shock the

        conscience. Griffin seeks nothing less than to reverse the will of the

        voters, imposing a cure process upon overseas and military voters—not

        one of whom he has shown to be ineligible to vote—based on an

        interpretation of state law made five months after the election. It is

        patently “unreasonable[]” to “expect[] a voter to have questioned” the

        rules provided to them based on future rulings that divided North

        Carolina’s appellate courts. Griffin, 570 F.2d at 1076. Unsurprisingly,

        none of Griffin’s cases about “garden variety” disputes reflect facts like

        those here. More fundamentally, as former Governor McCrory and others

        have stated, Griffin’s efforts are “a threat to the public’s faith in our

        judicial system” and demand to that “tens of thousands of voters [] lose




        3 Movants are also not asking this Court to supplant state courts as “‘the

        final arbiter[s]’ of their own State’s laws.” Doc.18 at 18 (quoting Bennett
        v. Yoshina, 140 F.3d 1218, 1225 (9th Cir. 1998)). The instant motions
        raise questions of federal law left unaddressed by state courts in
        deference to this Court’s Pullman order.

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        their voice after they voted.” 4

              Finally, Griffin claims that, while he may well seek to

        disenfranchise voters, such disenfranchisement is not “massive” enough

        to warrant relief. Doc.18 at 18-19. That theory ignores both that Griffin

        is presently trying to expand the universe of challenged voters and that

        his earlier request for far broader disenfranchisement has been

        winnowed solely on separate state grounds. See Pet. at 3-4, Griffin v. N.C.

        State Bd. of Elections, No. COA25-181 (N.C. Ct. App. Apr. 16, 2025). More

        critically,   none   of    Griffin’s   authority    imposes    a   “massiveness”

        requirement on substantive due process claims. The Ninth Circuit in

        Bennett merely observed that Griffin concerned a scenario where ten

        percent of voters would have been disenfranchised—neither case

        conditioned a claim on that fact. See Bennett, 140 F.3d at 1226-27. Griffin

        instead stressed that the “right to vote remains, at bottom, a federally

        protected right.” 570 F.2d at 1077. Thus, federal courts must stand ready

        where election processes “reach[] the point of patent and fundamental

        unfairness.” Id. That is precisely what Griffin seeks by pursuing a



        4 See https://www.commoncause.org/north-carolina/wp-content/uploads/
        2025/03/NC-Legal-Community-Open-Letter-to-Griffin-3.18.25.pdf.

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        discriminatory cure process that demands targeted voters abide judicial

        rulings made in April 2025 for ballots they cast in November 2024.

              B.   Griffin tries to sweep away Bush v. Gore, which is
                   “binding” here.

              Griffin’s position that Bush does not “appl[y] to equal-protection

        challenges to state law” contradicts every court to have cited it the last

        quarter-century. Doc.18 at 23; e.g., Mi Familia Vota v. Fontes, 129 F.4th

        691, 730 (9th Cir. 2025) (discussing Bush’s applicability in election cases);

        Raleigh Wake Citizens Ass’n v. Wake Cnty. Bd. of Elections, 827 F.3d 333,

        340 (4th Cir. 2016) (“RWCA”) (citing Bush). Indeed, Griffin’s citation to

        this Court’s discussion of Bush’s precedential value in Wise, 978 F.3d 100,

        n.7, ignores that this Court expressly “treat[ed]” Bush “as binding,” id.

        Griffin is also wrong that Bush’s principles only apply to national

        elections. Doc.18 at 23-24. Bush’s “one person, one vote principle, applies

        not just to the federal government but also to state and local

        governments.” RWCA, 827 F.3d at 340.

              Nor is Bush “cabined” only to “recount[s]” under the authority of a

        “single state judicial officer.” Doc.18 at 24. The point of Bush’s reference

        to a “single state judicial officer” was to contrast it from situations in

        which disparate treatment was instead spread across multiple localities


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        and independent decisionmakers. 531 U.S. at 109. The “single state

        judicial officer” in Bush, like here, was the state’s highest court, which

        had the “power to assure uniformity” but instead “ratified [] uneven

        treatment.” Id. at 107, 109. For that reason, Griffin is wrong that Voter

        Appellants’ reading of Bush would require every “candidate contesting

        an election to file in every county across the State.” Doc.18 at 25. When

        a single state court, as here, decides after an election that the rules in

        place did not conform to state statutes, the court cannot apply its

        “remedial process[]” “uneven[ly]” to some counties prospectively, and

        others retrospectively. 531 U.S. at 107, 108.

              C.   No state interest justifies disenfranchising voters
                   months after an election.

              Griffin claims the cure is a “usual” “inconvenience” necessary to

        prevent counting “unlawful” votes. Doc.18 at 21-22. But there is nothing

        “usual” about requiring certain targeted voters to “remedy” ballots for

        their alleged failure to comply with an election rule that did not exist at

        the time those ballots were cast. Springing such a requirement on voters

        half a year after they cast ballots in accordance with existing rules

        severely burdens those voters’ fundamental right to vote. Cf. Ne. Ohio

        Coal. for Homeless v. Husted, 696 F.3d 580, 597 (6th Cir. 2012). Tellingly,


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        Griffin cannot point to any example of a similar cure requirement,

        instead identifying cases permitting voters to cure ballots that did not

        comply with pre-existing rules. E.g., Democratic Party of Va. v. Brink, 599

        F. Supp. 3d 346, 363 (E.D. Va. 2022).

              Griffin also identifies no valid state interest that justifies

        retroactively imposing new rules on qualified voters. He relies only on

        cases where courts have recognized a state’s interest in ensuring

        prospectively that only eligible voters’ ballots are counted. E.g., Crawford

        v. Marion Cnty. Election Bd., 553 U.S. 181, 196 (2008). Despite having

        months to look, Griffin has presented no evidence that any voter targeted

        by his UOCAVA ID Challenge is unqualified to vote. He thus cannot

        identify a state interest in tossing out their ballots.

        IV.   The balance of equities favor an injunction.

              The public interest here rests with preserving ballots cast by voters

        in accordance with the rules they were given, and avoiding an

        unnecessary cure process that confuses voters and wastes resources.

        LWV, 769 F.3d at 247-48. Those interests are particularly acute since

        Griffin has returned to state court to expand the scope of the cure, leaving

        its parameters hazy. It is hard to fathom what public interest is served



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        by haranguing voters, like those subject to Griffin’s UOCAVA ID

        Challenge, where no doubt as to their eligibility has even been suggested.

        Griffin’s concern about the ‘dilution’ of his supporters’ votes assumes his

        correctness on the merits and ignores that Griffin has overlooked such

        “dilution” in most counties; the public has no interest in such

        gamesmanship. Instead, preserving the constitutional right to vote of all

        rule-abiding voters “surely serves the public interest.” Giovani

        Carandola, Ltd. v. Bason, 303 F.3d 507, 521 (4th Cir. 2002).

              Finally, Griffin’s plea that the equities weigh against intrusion into

        a state election contest is nonsensical where, as here, this Court has

        already commanded that federal questions have their day in federal

        court. Doc.132 (No. 25-1018). Instead, the equities (and common sense)

        favor orderly resolution of outstanding legal issues before imposing the

        burden, confusion, and cost of a cure on voters and the public.

                                     CONCLUSION

              Voter Appellants’ motion should be granted.



         Dated: April 22, 2025               Respectfully submitted,

                                             /s/ Lalitha D. Madduri
                                             Lalitha D. Madduri


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                                          Christopher D. Dodge
                                          Tina Meng Morrison
                                          James J. Pinchak
                                          Julie Zuckerbrod
                                          ELIAS LAW GROUP LLP
                                          250 Massachusetts Ave, N.W.
                                          Suite 400
                                          Washington, D.C. 20001
                                          Telephone: (202) 968-4490
                                          lmadduri@elias.law
                                          cdodge@elias.law
                                          tmengmorrison@elias.law
                                          jpinchak@elias.law
                                          jzuckerbrod@elias.law

                                          Narendra K. Ghosh
                                          N.C. Bar No. 37649
                                          PATTERSON HARKAVY LLP
                                          100 Europa Drive, Suite 420
                                          Chapel Hill, NC 27217
                                          Telephone: (919) 942-5200
                                          nghosh@pathlaw.com

                                          Counsel for Intervenor-Appellants
                                          VoteVets Action Fund, the North
                                          Carolina   Alliance  for   Retired
                                          Americans, Tanya Webster-Durham,
                                          Sarah Smith, and Juanita Anderson




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        Dated: April 22, 2025                     /s/ Lalitha D. Madduri
                                                  Lalitha D. Madduri

                                                  Counsel for Intervenor-
                                                  Appellants VoteVets Action
                                                  Fund, the North Carolina
                                                  Alliance for Retired Americans,
                                                  Tanya Webster-Durham, Sarah
                                                  Smith, and Juanita Anderson




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                             CERTIFICATE OF SERVICE

              On this 22nd day of April, 2025, I electronically filed the

         foregoing using the Court’s appellate CM/ECF system. Counsel for all

         parties to the case are registered CM/ECF users and will be served by

         that system.

                                                  /s/ Lalitha D. Madduri
                                                  Lalitha D. Madduri

                                                  Counsel for Intervenor-
                                                  Appellants VoteVets Action
                                                  Fund, the North Carolina
                                                  Alliance for Retired
                                                  Americans, Tanya Webster-
                                                  Durham, Sarah Smith, and
                                                  Juanita Anderson




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